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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                   :    Case No. 3:20-cr-051

                           Plaintiff,       :    JUDGE MICHAEL J. NEWMAN

             vs.                            :
                                                 THE UNITED STATES’
KEVIN A. KOVACS,                            :    SENTENCING MEMORANDUM

                           Defendant.       :

             ______________________________________________________

      Now comes the United States by and through the undersigned counsel with its Sentencing

Memorandum in the above captioned case.

                                                 Respectfully submitted,

                                                 KENNETH L. PARKER
                                                 United States Attorney

                                                s/Dwight K. Keller
                                                DWIGHT K. KELLER (0074533)
                                                Assistant United States Attorney
                                                Attorney for Plaintiff
                                                Federal Building
                                                200 West Second Street, Suite 600
                                                Dayton, Ohio 45402
                                                (937) 225-2910
                                                Fax: (937) 225-2564
                                                Dwight.Keller@usdoj.gov
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                                STATEMENT OF THE CASE

        On June 2, 2020, a Grand Jury sitting in Dayton, Ohio returned a 10-count indictment

against the defendant KEVIN A. KOVACS.              (Doc. #23). Counts 1, 2 and 3 charged the

defendant with production of child pornography in violation of 18 U.S.C. §§ 2251(a) and (e).

Count 4 charged the defendant with distribution of child pornography in violation of 18 U.S.C.

§§ 2252(a)(2) and (b)(1); Count 5 charged the defendant with receipt of child pornography in

violation of 18 U.S.C. §§ 2252(a)(2) and (b)(1); Counts 6, 7 and 8 charged the defendant with

transportation of child pornography in violation of 18 U.S.C. §§ 2252(a)(1) and (b)(1); Count 9

charged the defendant with possession of child pornography in violation of 18 U.S.C. §§

2252(a)(4)(B) and (b)(2); and Count 10 charged the defendant with witness tampering in violation

of 18 U.S.C. §§ 1512(b)(3) and (c)(2). On February 14, 2022, the defendant pled guilty to Counts

6 and 9 of the indictment pursuant to a written plea agreement. (Doc. #60). This plea agreement

included a Rule 11(c)(1)(C) provision wherein the parties agreed to recommend to the Court that

a sentence of between 60 and 240 months be imposed. Final sentencing in this case is currently

scheduled for July 28, 2022.

                                   LAW AND ARGUMENT

I.      SENTENCING

        A.     A Guidelines Sentence is a Presumptively Reasonable Designed to Achieve the
               Objectives of 18 U.S.C. § 3553(a).

        The Sentencing Guidelines are merely advisory in federal courts. United States v. Booker,

543 U.S. 220 (2005). See also, United States v. Ibarra-Hernandez, 427 F. 3d 332 (6th Cir. 2005).

District courts enjoy enhanced discretion in fashioning appropriate sentences for criminal

defendants. United States v. Jackson, 408 F. 3d 301, 304 (6th Cir. 2005). Booker, requires an

acknowledgment by the district court of the defendant’s applicable Guidelines range as well as a



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discussion of the reasonableness of any variation from that range. Jackson at 305. Ultimately,

Booker requires sentences imposed by the district court to be reasonable. Id. at 304.

       In Rita v. United States, 551 U.S. 338 (2007), the Supreme Court held that courts of appeals

may apply a presumption of reasonableness in reviewing sentences handed down within the

properly calculated Guidelines range. Id. at 347.

       B.      Current Sentencing Practice

       In imposing sentences post-Booker, district courts are required to independently evaluate

each of the 18 U.S.C. § 3553(a) factors. The advisory sentencing Guidelines calculation is but one

of these factors. The district court is tasked with imposing a sentence sufficient, but not greater

than necessary consistent with 18 U.S.C. § 3553(a) factors of sentencing. Congress has legislated

that no limitation shall be placed on the information concerning the background, character, and

conduct of a person convicted of an offense which a district court may receive and consider for

the purpose of imposing an appropriate sentence. See 18 U.S.C. § 3661.

       C.      The Sentencing Guideline Range in This Case.

        In subject case, the Presentence Investigation Report (PSR) determined the defendant has

a criminal history category of I, and a total offense level of 39. PSR ¶¶ 73, 76. As such, the PSR

calculated the advisory Guideline range to be 262-327 months. Pursuant to paragraph 7 of the

written plea agreement, the parties stipulated that neither the enhancement for “pattern of abuse”

under U.S.S.G. § 2G2.2(b)(5) nor the enhancement for “obstructing justice” under U.S.S.G. §

3C1.1 should apply. (Doc. # 60). Assuming the Court accepts this stipulation, the total offense

level would be reduced to a level 34, resulting in a corresponding advisory sentencing Guideline

range of 151-181 months.




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II.      ANALYSIS OF THE SENTENCING FACTORS

A.       18 U.S.C. § 3553(a) (1): The Nature and Circumstances of the Offense and the History
         and Characteristics of the Defendant.

         1.     Nature and Circumstances of Offense.

         Without question, society views child pornography as a vile and heinous crime. Mention

the term to your average American and he responds with immediate disgust and a sense of unease.

Congress noted that its “legislation [was] designed to eliminate the exploitation of children in

pornographic materials” and “to increase the deterrent effect.” See S. Rep. 95-438, reprinted in

1978 U.S.C.C.A.N. 40, 41 and 55.

         As part of his guilty plea, the defendant readily admits to the allegations of transportation

and possessing child pornography as set forth in Counts 6 and 9. The nature, content and quantity

of the child pornography associated with this case is nothing less than stunning. The PSR provides

a graphic description of the precise nature of the materials. See PSR ¶¶ 19-38. As set forth in the

statement of facts attached to the defendant’s plea agreement he admitted to the following acts:

          “During the approximate time period April 21, 2015, through July 11, 2017, KOVACS
         uploaded more than 300 images and more than 2,200 videos each depicting child
         pornography into his Dropbox account.” …. “In total, as of December 19, 2019. KOVACS
         possessed, received, distributed, and/or produced more than 780 images and more than
         5,100 videos depicting child pornography.” (Doc. #60).

          The PSR further details the defendant’s personal contact with three minor females, to wit:

Minor A (a 17-year old female living in Canada); Minor B (a 16-year old female from Ohio); and

Minor C (a Hispanic female minor from South America he a met while she was attending

Beavercreek High School as a foreign exchange student). See PSR ¶¶ 22, 27-35.

         A thorough review of the dozens of victim impact statements submitted in this case paints

a shocking portrait of how the child pornography victims associated with this case suffered

emotional and social trauma likely to last a lifetime. PSR ¶¶ 39-50. The aftereffects include bouts



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of PTSD, depression, shame, low self-esteem, suicidal thoughts, sleeping disorders, humiliation,

anger, embarrassment, paranoia, self-loathing, isolation, loneliness, panic attacks, lack of self-

confidence, an inability to forma and maintain normal healthy personal relationships, and an

overall lack of trust in people and strangers. Representative quotations extracted from some of

these victim impact statements include:

       When justice isn’t served for the victim, you feel as though the court has supported the
       criminal.

       The awareness that her sexual abuse is memorialized via the internet will be forever
       devastating.

       Our daughter will always be a victim each time another monster “enjoys” her videos.

       Knowing that I cannot retrieve the photos or videos, nor can I remove them from the
       internet and dark web makes me feel helpless and powerless.

       I will forever have to deal with the fact that someone is always looking at my images. My
       images from when I was only two years old.

       2.      History and Characteristics of the Defendant.

       The defendant is presently 60 years old having been born on October 11, 1961, in Topeka,

Kansas. PSR ¶ 77. He graduated from Fairborn High School and completed college course work

at Wright State University, Southern Illinois University and Bowling Green University. PSR ¶

89. He served four years on active duty in the U.S. Air Force as a security policeman between

1984-88. PSR ¶ 790 He was employed as a police officer with the Beavercreek Police Department

(BPD) from 1992 until his retirement in 2018. PSR ¶ 92. The last six years of his BPD career

consisted as the Drug Abuse Resistance Education (D.A.R.E.) officer in the Beavercreek City

Schools. Id. It was during his last three years with BPD that the defendant first began his

involvement with child pornography. The defendant has been married to his current wife for 36

years. PSR ¶ 80. The couple have two adult children. Id.




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        3.     Defendant’s Criminal History

        The defendant has no prior criminal history. PSR ¶¶ 74-76.

B.      18 U.S.C. § 3553(a) (2): The need for the sentence imposed to (A) reflect the
        seriousness of the offense, to promote respect for the law, and to provide just
        punishment for the offense; (B) to afford adequate deterrence to criminal conduct;
        (C) to protect the public from future crimes of the defendant; and (D) to provide the
        defendant with needed training, medical care, or other correctional treatment in the
        most effective manner.

        Those who traffic in or consume child pornography must be punished severely. See

Osborne v. Ohio, 495 U.S. 103, 110 (1990). The effects child pornography has upon victims are

often long-term. Not only is the original victimization damaging, but ongoing fears through a

victim’s life can exist. See Ethel Quayle et al., Child Pornography and Sexual Exploitation of

Children Online 49 (2008). It is common for pedophiles to use pornography to groom their next

victims. Id. at 24-25. It is not that a child is sexually assaulted as part of its production that makes

child pornography so damaging, but also the fact that detailed and graphic images of the child’s

sexual assault or abuse are made available to millions across the globe. The harm is multiplied by

the very size of the global marketplace. From the perspective of the victim whose image appears

in child pornography, there is no meaningful difference between the creator, the viewers, or the

distributors of pornographic images.        They are all participants in a marketplace of child

pornography as the Supreme Court acknowledged in New York v. Ferber, 458 U.S. 747, 753

(1982). Each of the participants inflict pain and suffering on the victims.

        In subject case, the defendant’s prior status as a local police officer is a disturbing

aggravating factor. The fact he engaged in possessing and transporting child pornography while

as the D.A.R.E. officer is even more troubling. Local D.A.R.E. officers are expected to serve as a

positive role model for school age children. The defendant has compromised the integrity of the

D.A.R.E. program along with the honor and reputation of the Beavercreek Police Department.



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        The defendant possessed more than 780 images and 5,100 videos of child pornography.

Using the formula established in U.S.S.G. § 2G2.2, Application Notes § 6(B)(ii), this equates to

over 383,280 pornographic images for sentencing Guidelines purposes.

        District courts are required to impose a sentence that affords adequate deterrence, both

specific and general. See United States v. Camiscione, 592 F.3d 823, 834 (6th Cir. 2010).

“Consideration of general deterrence is particularly important where the district court varies

substantially from Guidelines. See, e.g., United States v. Aleo, 681 F.3d 290, 300 (6th Cir. 2012)

(explaining that the greater the variance, the more compelling the justification based upon §

3553(a) factors must be). Where a district court views a particular crime’s seriousness appears at

odds with that of Congress and the Sentencing Commission, it is required to explain how its

sentence affords adequate general deterrence. United States v. Musgrave, 2014 FED App. 0168P

at **8 (6th Cir. July 31, 2014); Camiscione, 591 F.3d at 834.

C.      18 U.S.C. § 3553(a)(3)and (4): Kinds of sentences available; the kinds of sentence and
        the sentencing range established for the applicable category of offense committed by
        the applicable category of defendant as set forth in the Guidelines.

        The district court is required to consider the sentencing range established by the Guidelines.

Although advisory, the Guidelines remain “the starting point and initial benchmark” in

determining whether a particular sentence is “sufficient but not greater than necessary” to achieve

the purposes of sentencing. Gall v. United States, 552 U.S. 38 at 49 (2007); United States v.

Bistline, (Bistline II), 720 F.3d 631, 633 (6th Cir. 2013).

        In subject case, the Probation Officer determined an advisory Guidelines sentence of 262-

327 months. Due to the parties’ prior stipulation, the U.S.S.G. § 2G2.2(b)(5) “pattern of abuse”

and U.S.S.G. § 3C1.1 “obstructing justice” enhancements should not apply. (Doc. # 60). As such,




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the defendant’s adjusted advisory sentencing Guideline range should be calculated at 151-181

months.

        Count 6 requires a mandatory minimum sentence of 60 months up to a maximum of 20

years. Count 9 requires a maximum sentence up to 20 years. To date, the defendant has remained

in pretrial custody since his arrest on December 19, 2019. The defendant’s decision to plead guilty

saved both the United States and the Court valuable time and resources by avoiding a lengthy and

complicated multi-week jury trial. The defendant’s acceptance of responsibility additionally

dispensed with the necessity of requiring child victims to testify at trial. Considering all the

underlying facts and circumstances of this case and the various 18 U.S.C. § 3553(a) factors of

sentencing, the United States believes that a total sentence of 181 months is sufficient but not

greater than necessary.

D.      18 U.S.C. § 3553(a) (5) Any pertinent policy statement issued by the Sentencing
        Commission . . . subject to any amendments made to such policy statement by act of
        Congress.

        None.

E.      18 U.S.C. § 3553(a) (6) The need to avoid unwarranted sentence disparities among
        defendants with similar records who have been found guilty of similar conduct.

        18 U.S.C. § 3553(a) (6) lists as one of the factors the need to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty of similar conduct.

The Sixth Circuit in United States v. Simmons, 501 F.3d 620, 623 (6th Cir. 2007) explained that

18 U.S.C. 3553(a)(6) is a requirement of the need to avoid unwarranted sentencing disparities

concerns nation-wide disparities. The Court went on to describe the Guideline range as “good

evidence of the national standard.” Id.

        Relevant to subject case, the U.S. Sentencing Commission Quick Facts Web Site,

visit://www.ussc.gov/research/quik-facts, advises as follows:



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       (1)   In FY 2020 1,023 child pornography cases were reported nation-wide;
       (2)   Of these cases, 72.9% of the defendants had little or no prior criminal history;
       (3)   99.3% of child pornography offenders were sentenced to prison; and
       (4)   30.6% of all child pornography offenders were sentenced within the guideline range.

                                         CONCLUSION

       The United States respectfully asks that this Court impose a sentence of 181 months based

upon the defendant’s net offense level of 34/CHC I coupled with the Rule 11(c)(1)(C) provision

contained in paragraph 7 of the plea agreement. (Doc. #60).      Imposition of such a sentence is

deemed “sufficient, but not greater than necessary” to reflect the seriousness of the offense

committed, promote respect for the law, provide just punishment, afford adequate deterrence,

protect the public and avoid disparity in sentencing. As such, the United States respectfully

recommends this Honorable Court impose this sentence upon the defendant in this case.

                                                     Respectfully submitted,

                                                     KENNETH L. PARKER
                                                     United States Attorney


                                                     s/Dwight K. Keller
                                                     DWIGHT K. KELLER (0074533)
                                                     Assistant United States Attorney
                                                     Attorney for Plaintiff
                                                     200 West Second Street, Suite 600
                                                     Dayton, Ohio 45402
                                                     Office: (937) 225-2910
                                                     Fax: (937) 225-2564


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Sentencing Memorandum was electronically

served this 4th day of May 2022, upon the defense counsel of record.


                                                     s/Dwight K. Keller
                                                     DWIGHT K. KELLER (0074533)
                                                     Assistant United States Attorney


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